






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-04-080 CR


____________________



THAD EDWARD SONNIER, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 70496






MEMORANDUM OPINION (1)


	Thad Edward Sonnier was convicted and sentenced on an indictment for the felony
offense of driving while intoxicated.  Sonnier filed a notice of appeal on February 18,
2004.  The trial court entered a certification of the defendant's right to appeal in which the
court certified that this is a plea-bargain case and the defendant has no right of appeal.  See
Tex. R. App. P. 25.2(a)(2).  The trial court's certification has been provided to the Court
of Appeals by the district clerk.

	On February 23, 2004, we notified the parties that the appeal would be dismissed
unless an amended certification was filed within thirty days of the date of the notice and
made a part of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been
supplemented with an amended certification.  Because a certification that shows the
defendant has the right of appeal has not been made part of the record, the appeal must be
dismissed.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.

								PER CURIAM


Opinion Delivered April 1, 2004

Do Not Publish

Before McKeithen, C.J., Burgess and Gaultney, JJ.
1. Tex. R. App. P. 47.4.


